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                                                                                              RT
     5   Facsimile:     415 397 7188                                     lSTRICT OF CALIFORNIA
                                                                   r
     6   Attorneys for Non-Party
         CALLYO 2009 CORP.
     7
     8                                UNITED STATES DISTRICT COURT
     9                               NORTHERN DISTRICT OF CALIFORNIA
    10                                   SAN FRANCISCO DIVISION
    11   UNITED STATES OF AMERICA,                        Case No. 3:18-cr-599 VC
    12                  Plaintiff,                       NOTICE OF APPEARANCE OF
                                                         VICTORH. YU
    13             V.
                                                          Judge:       Hon. Vince G. Chhabria
    14   ISAI ULISES VILLAGOMEZ,
    15                  Defendant.
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                                     NOTICE OF APPEARANCE OF VICTOR H. YU
                                              Case No. 3: l 8-cr-599 VC
         1839171
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 1             TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 2             PLEASE TAKE NOTICE that Victor H. Yu of Keker, Van Nest & Peters LLP hereby
 3   appears as counsel for Non-Party Callyo 2009 Corp. ("Callyo"). He is admitted to practice in the
 4   State of California and before this Court. His address, telephone, and facsimile numbers are as
 5   follows:
 6                    KEKER, VAN NEST & PETERS LLP
                      Victor H. Yu
 7                    633 Battery Street
                      San Francisco, CA 94111
 8                    Telephone: 415-391-5400
                      Facsimile:     415-397-7188
 9                    Email: vyu@keker.com
10             Please serve said counsel with all pleadings, orders, motions, notices, and other filings in
11   this action.
12   Dated: March 15, 2022                                     KEK.ER, VAN NEST & PETERS LLP
13
14                                                       By:   Isl Victor H. Yu
                                                               NICHOLAS D. MARAIS
15                                                             VICTOR H. YU

16                                                              Attorneys for Non-Party
                                                                CALLYO 2009 CORP.
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                                   NOTICE OF APPEARANCE OF VICTOR H. YU
                                            Case No. 3:18-cr-599 VC
     1839171
      Case 3:18-cr-00599-VC Document 237 Filed 03/15/22 Page 3 of 3




1                                          PROOF OF SERVICE
 2   I am employed in the City and County of San Francisco, State of California in the office of a
     member of the bar of this court at whose direction the following service was made. I am over the
 3
     age of eighteen years and not a party to the within action. My business address is Keker, Van
 4   Nest & Peters LLP, 633 Battery Street, San Francisco, CA 94111-1809.

 5   On March 15, 2022, I served the following document(s):

 6             NOTICE OF APPEARANCE OF VICTOR H. YU
 7   0 by E-MAIL VIA PDF FILE, by transmitting on this date via e-mail a true and correct copy
       scanned into an electronic file in Adobe "pdf' format. The transmission was reported as
 8     complete and without error.
 9
     Elizabeth Meyer Falk                                Ankur Shingal
10   Geoffrey A. Hansen                                  United States Attorney's Office, Criminal
     Daniel Paul Blank                                   450 Golden Gate Avenue, 11th Floor
11   450 Golden Gate Avenue, Box 36106                   San Francisco, CA 94102
     19th Floor                                          Email: ankur.shingal@usdoj.gov
12   San Francisco, CA 94102
13   Email: elizabeth falk@fd.org
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14   Email: danicl blank@fd.org

15   Zachary George Facer Abrahamson
     United States Department of Justice
16   NDCA USAO
17   450 Golden Gate Avenue, 11th Floor
     San Francisco, CA 94102
18   Email: Zachary.Abraharnson2@usdoj.gov

19   Executed on March 15, 2022, at San Francisco, California.
20   I declare under penalty of perjury under the laws of the State of California that the above is true
     and correct.
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                                 NOTICE OF APPEARANCE OF VICTOR H. YU
                                          Case No. 3:l 8-cr-599 VC
     1839171
